Case 1:05-cr-1OOSl-.%I[I?T`{TE[IBOCSL%H1T(2‘E n§SDI|;¥ drO 4/%%/[§)1§T Page 1 of 2 Page|D 6

. FEOR THE
WESTERN DISTRICT OF TENNESSEE
0000.§.0§00...§.§..0.§§.§.¢§§00§¢..0...¢.§......§¢.§00§0000.¢000.§.§..§‘€%3, \:?//

UNITED STATES OF AMERICA,

) cR. No. 1- 05 10031.,,(;,<f pcoé‘p "0_@
V. ) j¢/; C`F`r /y\£'
) §§

“'/»f f'£>
GREGOR¥ '1' KERRENT L“"`/` (-/¢S‘ //;?

The United States Attorney's Office applies to the Court for a
Writ to have GREGORY T. KERRENT, #362812 now being detained in the
West Tennessee State Penitentiary, Henning, Tennessee, appear before
the Honorable 3 T.AN[E¥SOKJ on (day) EE\QAj , (month)
OUIKT~(JS , at (time) QZOO P.m. for Initial Appearance

and for such other appearances as this Court may direct.

Respectfully submitted this EQB day of fg@§y

L_%£w»»~
€:meL .lCroom, #12040
z s istan U S Attorney
0.§0000.§§04.0§¢§0..§.¢¢§0§.0¢§§0.0000000§0000§.§§00000§¢§00000¢§00000¢0.
Upon consideration of the foregoing Application, David Jolley,
U.S. Marshall, Western District of Tennessee, Memphis, TN
Sheriff/Warden, Tennessee Department of Corrections, Henning,
Tennessee.
YOU ARE HEREBY COMMANDED to have GREGORY T. KERRENT, #362812

appear before the Honorable S.F AMUQCLWJ at the date and time

aforementioned.

QQJ M
ENTERED this Al`day Of , 20
¢/

WM“MWFBO¢FM UNITED STATES MAGISTRATE JUDGE

UMMMNMM é/F[ mark @_J
3

: .| l x x F
UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 1:05-CR-10031 Was distributed by faX, mail, or direct printing on
Apri126, 2005 to the parties listed.

 

 

Jimmy L. Croom

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

